Case 2:O4-cv-O2430-SHI\/|-dkv Document 23 Filed 05/06/05 Page 1 of 2 Page|D 20

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UNITED STATES DISTRICT COURT 95 H'£` il §
WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION

MARY M. G[LL, )
)
Plaimiff )
)

vs. ) Civil Action No. 04-2430
)
JO ANNE B. BARNHART, )
COMMISSIONER OF )
SOCIAL SECURITY, )
)
Defendant )
)

 

ORDER GRANT]NG COMMISSIONER’S MOTION TO
HOLD BRIEF]NG SCHEDULE IN ABEYANCE

The Commissioner has respectfully requested this Court to hold the briefing schedule in
abeyance until such time a ruling is made in the Commissioner’s Petition for Rehearing filed in
Combs. Should the Sixth Circuit deny the Commissioner’S Petition for Rehearing, the
Commissioner will have thirty (30) days from the date the Sixth Circuit denies the
Petition within Which to file a brief in this case.

SO ORDERED:

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This the {:/_ day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02430 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

